Case 2:10-cv-02598-STA-dkv Document 23 Filed 03/02/11 Page 1 of 4                         PageID 72



                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

CHARLESTON SHIPP,                         )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )     No. 10-cv-02598-STA-dkv
                                          )
VISIONS SPORTS BAR & GRILL, INC.,         )
MARIA LOPEZ, MIKE FURFIK,                 )
THE CITY OF MEMPHIS, JIMMY HUDSON, )
ALKI KING, NOEL JACKSON, and JULIAN, )
                                          )
            Defendants                    )
______________________________________________________________________________

                   ORDER GRANTING MOTION TO DISMISS
______________________________________________________________________________

        Before the Court is Defendant City of Memphis’ Motion to Dismiss (D.E. # 12), filed on

September 10, 2010. Plaintiff Charleston Shipp filed a response in opposition on October 11,

2010. (D.E. # 13.) For the reasons set forth below, Defendant’s Motion is GRANTED.

                                         BACKGROUND

        On August 16, 2010, Plaintiff Charleston Shipp (“Plaintiff”) filed a Complaint for

Damages against the Defendant City of Memphis (“City”) among others. In the Complaint,

Plaintiff asserts that the City is

        vicariously liable for the actions or omissions of Officers Christopher Crawford,
        Michael Young and Lieutenant Timothy Green while in the course and scope of their
        employment or agency via the doctrine of respondeat superior, actual or apparent
        agent-principal and employee- employer pursuant to the [Governmental Tort
        Liability Act (“GTLA”)]. [The City] is directly liable for negligently failing to hire,
        retain, supervise, or retain [sic] Crawford, Young, or Green pursuant to the GTLA.

Compl. ¶ 5.
Case 2:10-cv-02598-STA-dkv Document 23 Filed 03/02/11 Page 2 of 4                         PageID 73



       On September 10, 2010, the City filed a Motion to Dismiss. The City’s Motion asserts

that pursuant to Federal Rule of Civil Procedure 12(b)(6), this Complaint should be dismissed.1

The City argues that this Court should decline to accept jurisdiction on the state court claims. In

fact, the City notes that the Tennessee Legislature’s clear preference is for GTLA claims to be

handled by its own state courts and that this is an exceptional circumstance for declining

jurisdiction. Additionally, the City asserts that even if the Court finds that it should exercise

supplemental jurisdiction over Plaintiff’s state court claims under the GTLA, Plaintiff has not

stated a basis for relief. Consequently, the City argues that this Complaint should be dismissed

against the City.

       Plaintiff responded in opposition stating that he “urges the Court to deny the Motion to

Dismiss.” Plaintiff argues that the allegations “of the First Amended Complaint establish a

plausible basis for recovery.”2 Additionally, Plaintiff states that the City is not entitled to

immunity as a matter of well-settled Tennessee law. Moreover, Plaintiff asserts that a jury must

determine the City’s GTLA liability for the Plaintiff’s property damages. And, lastly, the

Plaintiff states the Court should retain supplemental jurisdiction over the Plaintiff’s GTLA

claims. To this argument, Plaintiff simply notes that the City “has not provided any ‘compelling

reason’ for the Court to decline to exercise supplemental jurisdiction of the Plaintiff’s claims.”

Pl.’s Resp. to Def.’s Mot. to Dismiss, 4.




       1
         The City first states that the Complaint fails to state a claim pursuant to 18 U.S.C. §
1961 et seq. (“RICO”). However, Plaintiff, in his Response, states that he has not asserted any
RICO liability claims against the City. Thus, the Court will not discuss the Defendant’s RICO
argument.
       2
          The Court assumes Plaintiff is referring to the Complaint at Docket Entry # 1 as there is
no “First Amended Complaint” on the record.
Case 2:10-cv-02598-STA-dkv Document 23 Filed 03/02/11 Page 3 of 4                         PageID 74



                                      ANALYSIS

       Plaintiff has alleged a cause of action against the City sounding in tort under the GTLA.

State law claims against governmental entities are governed by the GTLA.3 Ordinarily, state law

claims might give this Court supplemental jurisdiction because they arise out of the same facts

and form part of the same case or controversy.4 However, GTLA claims must be brought in

“strict compliance” with the terms of the state statute.5 The GTLA confers on the state circuit

courts exclusive original jurisdiction over claims brought pursuant to its provisions.6

       A federal district court may, in its discretion, decline supplemental jurisdiction over a

state law claim, even if jurisdiction would otherwise be proper under § 1367(a). Section

1367(c)(4) allows a district court to “decline to exercise supplemental jurisdiction over a claim

under subsection (a) if . . . (4) in exceptional circumstances, there are other compelling reasons

for declining jurisdiction.”7 The Sixth Circuit has affirmed the dismissal of GTLA claims,

stating that “the Tennessee legislature expressed a clear preference that []GTLA claims be

handled by its own state courts. This unequivocal preference of the Tennessee legislature is an

exceptional circumstance for declining jurisdiction.”8 Therefore, this Court declines to accept

jurisdiction over Plaintiff’s claims brought pursuant to the GTLA in accordance with 28 U.S.C. §


       3
           See Tenn.Code Ann. § 29-20-101, et seq.
       4
           See 28 U.S.C. § 1367(a).
       5
           Tenn.Code Ann. § 29-20-201(c).
       6
           Tenn.Code Ann. § 29-20-307.
       7
           28 U.S.C. § 1367(c)(4).
       8
          Gregory v. Shelby Cnty., Tenn, 220 F.3d 433, 446 (6th Cir. 2000). See also Maxwell v.
Conn, 893 F.2d 1335 (6th Cir. 1990) (stating that the GTLA’s grant of exclusive jurisdiction to
the state courts “belie[d]” plaintiff’s argument that he could expect to try the GTLA claims in the
same proceeding as his federal claims)).
Case 2:10-cv-02598-STA-dkv Document 23 Filed 03/02/11 Page 4 of 4                       PageID 75



1367(c)(4).9 Because the Court declines to accept jurisdiction over these state claims, they are

dismissed without prejudice. Consequently, as these state claims are the only claims alleged

against the City, the Court finds that the City should be dismissed from this matter.

                                        CONCLUSION

       For the reasons set forth above, the City of Memphis’ Motion to Dismiss is GRANTED.

       IT IS SO ORDERED.

                                                     s/ S. Thomas Anderson
                                                     S. THOMAS ANDERSON
                                                     UNITED STATES DISTRICT JUDGE

                                                     Date: March 2, 2011.




       9
           See Conner v. City of Jackson, Tenn., 669 F. Supp. 2d 886, 892-93 (W.D. Tenn. 2009).
